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                                                     November 18, 2021

VIA CM/ECF

Hon. Susan D. Wigenton
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101
Telephone: (973) 645-5903

               Re:     Zeikos Inc. v. Walgreen Co.
                       2:21-cv-19993-SDW-MAH

Dear Judge Wigenton:

       Our firm is counsel to Walgreen Co. (“Walgreens”), defendant in the referenced action.

       We are submitting herewith a proposed Stipulation and Order (the “Stipulation”),
executed by the parties’ counsel, pursuant to which our firm will accept service of the Summons
and Complaint on behalf of Walgreens and Walgreens’ time to respond to the Complaint will be
extended to December 17, 2021. There has been no previous request for such an extension.

      We respectfully request that the Stipulation be so-ordered at the Court’s earliest
convenience.

                                                     Respectfully,



                                                     Michael M. Yi

cc (via CM/ECF): Laura Scileppi, Esq.
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Michael M. Yi
LEE ANAV CHUNG WHITE
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Attorneys for Defendant
Walgreen Co.

 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 --------------------------------------------------------------X
 ZEIKOS INC.,                                                      2:21-cv-19993-SDW-MAH

                              Plaintiff,                           STIPULATION AND ORDER

          v.

 WALGREEN CO.,

                               Defendant.
 --------------------------------------------------------------X

        IT IS HEREBY STIPULATED AND AGREED, by and between plaintiff Zeikos Inc.

and defendant Walgreen Co. (“Walgreens”), by their respective undersigned counsel, as follows:

        1.       Walgreens’ attorneys, Lee Anav Chung White Kim Ruger & Richter LLP,

pursuant to authorization from Walgreens, shall receive service of plaintiff’s Summons, dated

November 16, 2021, and Complaint, dated November 15, 2021 (the “Summons and Complaint”),

on behalf of Walgreens.

        2.       Receipt of such service of the Summons and Complaint by Walgreens’ attorneys

shall not be deemed a waiver of any of Walgreens’ rights, claims, or defenses in this action

(other than the defense of insufficiency of service of process with respect to the Summons and

Complaint).
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       3.     The time for Walgreens to answer, move, or otherwise respond to the Complaint

shall be extended to and including December 17, 2021.

       4.     Facsimile signatures of the parties’ respective undersigned counsel shall be

deemed to be original.


Dated: November 17, 2021


                                                   DUNNEGAN & SCILEPPI LLC


                                                   By:
                                                           Laura Scileppi

                                                   437 Madison Avenue, 24th Floor
                                                   New York, New York 10022
                                                   (212) 332-8304

                                                   Attorneys for Plaintiff
                                                   Zeikos Inc.



                                                   LEE ANAV CHUNG WHITE
                                                   KIM RUGER & RICHTER LLP


                                                   By:
                                                           Michael M. Yi

                                                   99 Madison Avenue, 8th Floor
                                                   New York, New York 10016
                                                   (212) 271-0664

                                                   Attorneys for Defendant
                                                   Walgreen Co.


SO ORDERED:

____________________________________
   Hon. Susan D. Wigenton, U.S.D.J.


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